Case 2:18-cr-20648-VAR-MKM ECF No. 22, PageID.60 Filed 03/12/19 Page 1 of 9




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

United States of America,

              Plaintiff,
                                          Case No: 18-20648
       v.
                                          Hon. Victoria A. Roberts
Adam Wright,

              Defendant.

                                      /

            GOVERNMENT’S SENTENCING MEMORANDUM

       Adam Wright is a career-offender bank robber that appears to be

fueled by a serious addiction to controlled substances. He committed

three bank robberies while on federal supervised release for bank

robbery. He has not been deterred by past terms of custody or court

supervision. He does not care to comply with the terms of court

supervision. For those reasons, and the reasons stated below, the

government recommends a sentence of 151 months imprisonment, the

bottom of the sentencing guideline range.

  I.        Facts and procedural history

  After serving less than 60 days of his three-year term of federal


                                    1
Case 2:18-cr-20648-VAR-MKM ECF No. 22, PageID.61 Filed 03/12/19 Page 2 of 9




supervised release for bank robbery, Adam Wright robbed three banks.

Two of the banks were in Michigan and one in Illinois. At the

Cornerstone Community Financial Credit Union in Auburn Hills,

Wright approached a bank teller, told the employee it was a robbery,

and demanded all the money in the drawer with no dye packs. Wright

also implied that he was armed by motioning to his waistband and

stating “give me all your money or I will shoot you in the face.”

Undoubtedly, the employee was terrified and complied. The teller gave

Wright over $10,000.

  After the robbery, law enforcement disclosed a photograph of Wright

to the public and law enforcement community. Since Wright was on

federal supervised release in the Eastern District of Michigan, his

probation officer recognized him and contacted the police. Wright was

arrested without incident and he admitted to two other robberies that

occurred last July, one in Michigan and one in Illinois. To date, Wright

has been charged of, and convicted or admitted to relevant conduct of at

least 10 bank robberies.

  II.     Sentencing Guideline calculations and relevant 3553(a)
          factors

        18 U.S.C. § 3553(a) provides the relevant objectives and factors to

                                      2
Case 2:18-cr-20648-VAR-MKM ECF No. 22, PageID.62 Filed 03/12/19 Page 3 of 9




be considered by sentencing courts when determining a “sentence

sufficient, but not greater than necessary.” Those objectives are: (1) the

nature and circumstances of the offense, and the history and

characteristics of the defendant; (2) the need for a sentence to reflect

the basic aims of sentencing (including retribution, deterrence,

incapacitation and rehabilitation); (3) the kinds of sentences legally

available; (4) the Sentencing Guidelines; (5) Sentencing Commission

policy statements; (6) the need to avoid unwarranted sentencing

disparities among defendants with similar records who have been found

guilty of similar conduct; and (7) the need for restitution. The

government will address some of the sentencing objectives below.

     A.    The Sentencing Guidelines range

     Although advisory, the Sentencing Guidelines remain an

important factor under Section 3553(a) in fashioning an appropriate

sentence. As noted in United States v. Rita, 551 U.S. 338, 345 (2007), “it

is fair to assume that the Guidelines, insofar as practicable, reflect a

rough approximation of sentences that might achieve § 3553(a)’s

objectives.” Here, the parties and probation department agree that

defendant is a career offender and has a guideline range of 151-188


                                     3
Case 2:18-cr-20648-VAR-MKM ECF No. 22, PageID.63 Filed 03/12/19 Page 4 of 9




months. (PSR ¶108).

     B.    Nature and circumstances of the offense and history
           and characteristics of the offender, 18 U.S.C. §
           3553(a)(1)

     Bank robbery is a serious offense that involves threatening

innocent victim tellers, other bank employees or customers and taking

the money of a financial institution. The victim tellers who endure bank

robberies are never quite the same after surviving the robberies. Many

times, victims describe the mental and emotional effects of the robbery

as debilitating. Undoubtedly, such a tragic and startling event is life-

altering. The victim teller’s lifestyles change. They don’t feel safe. Their

sense of security is robbed from them in an instant. Many tellers quit

their jobs, or have to be transitioned to a different area of work within

the bank. All of these negative effects happen to innocent victims,

simply trying to do their jobs. Individuals like Wright have no regard

for how their selfish actions have a lifetime effect on someone else.

     Wright also did not just victimize one bank—he victimized three

banks. Three banks with three separate loss amounts and three

separate sets of employees who have to suffer, and now endure the

lifelong emotional and mental effects of Wright’s decisions. Thankfully


                                     4
Case 2:18-cr-20648-VAR-MKM ECF No. 22, PageID.64 Filed 03/12/19 Page 5 of 9




for Wright, he didn’t actually have a gun, and no one was physically

hurt during his bank robbing spree. But Wright clearly has not been

deterred by past prison sentences and terms of supervision. To be sure,

this is Wright’s third federal conviction for bank robbery. He’s a career

offender and has made a habit of continuing to rob banks while on

federal supervised release.

     Apart from being a career bank robber, Wright has a substantial

criminal history for other crimes including, battery, trespass, resisting

and obstructing, theft, and more minor controlled substance offenses.

His first contact with the criminal justice system occurred at age 13 and

basically continued consistently until age 39. Of course, some of

Wright’s past criminal activities are more serious than others, however,

the only time Wright stopped committing crimes was during periods of

incarceration.

     Perhaps Wright’s criminal problems stem from an unfortunately

unstable childhood, which no child should have to endure. Or his

problems may be the result of lack of parental guidance and supervision

(apart from his grandmother) or his troubles with abusing controlled

substances. Wright admits in the PSR that his drug use has destroyed


                                    5
Case 2:18-cr-20648-VAR-MKM ECF No. 22, PageID.65 Filed 03/12/19 Page 6 of 9




his relationships with significant others, and he has taken steps to

complete non-residential drug treatment in custody. And Wright

admitted to robbing the banks at issue here to buy more cocaine to feed

his addiction. Addiction is obviously a serious disease, that may lead an

already vulnerable person like Wright to make poor decisions, but at

some point, Wright needs to take responsibility for his actions, get the

help he needs, and avoid using drugs and engaging in continued

criminal activity. A substantial custodial sentence will hopefully give

Wright the time he needs to avoid the use of drugs. A custodial sentence

may also provide him with an opportunity for further drug treatment

within the BOP.

     C.    Seriousness of the offense, promoting respect for the
           law, and providing just punishment, 18 U.S.C. §
           3553(a)(2)(A)

     Bank robbery is a serious offense that cannot be taken lightly.

Any time another individual is threatened, a sentence should be

fashioned to consider defendant’s role in the harm. A sentence of 151

months imprisonment reflects the seriousness of the offense to the

bank, the victims, and to society. A sentence of 151 months

imprisonment also promotes respect for the law and will provide just


                                    6
Case 2:18-cr-20648-VAR-MKM ECF No. 22, PageID.66 Filed 03/12/19 Page 7 of 9




punishment for Wright. He appears to lack respect for the law, which is

evident given the fact that Wright has robbed around 10 banks, and

committed three robberies less than 60 days after starting his federal

supervised release.

     D.    Providing the defendant with needed educational or
           vocational training, medical care, or other
           correctional treatment in the most effective manner
           and kinds of sentences available, 18 U.S.C. §
           3553(a)(2)(D) and (3)

     The Bureau of Prisons has the expertise to classify and assign

Wright to the appropriate facility, but he appears to be a good candidate

for another drug treatment program within the BOP. He also may

benefit from mental/emotional health treatment to address his

continued desire to engage in criminal activity and to deal with his

troubled childhood.

     To his credit, Wright has a history of working well in the food

services area of the BOP, so he may wish to secure another similar job

while he is in custody in the BOP. Learning job related skills and

mental and emotional therapy may help Wright cope with transitioning

back to society after his release from custody.




                                    7
Case 2:18-cr-20648-VAR-MKM ECF No. 22, PageID.67 Filed 03/12/19 Page 8 of 9




     E. Restitution and Crime Victims’ Rights Act

  Wright should be ordered to pay restitution to the following financial

institutions:

  • Cornerstone Community Financial Credit Union- $10,400.00

  • Chase Bank- $8,980.00

  • New Century Federal Credit Union- $7,701.18

  III. Conclusion

     For the reasons stated above, the government requests a sentence

of 151 months.

                                        Respectfully Submitted,

                                        Matthew Schneider
                                        United States Attorney

                                         /s Jihan M. Williams
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March 12, 2019




                                    8
Case 2:18-cr-20648-VAR-MKM ECF No. 22, PageID.68 Filed 03/12/19 Page 9 of 9




                          Certificate of Service


   I certify that on March 12, 2019 I electronically filed the foregoing

motion with the Clerk of the Court using the ECF system, which will send

notification of such filing to the following:


                                  -----------
                             James Thomas
                       Probation Officer, Lee Sharp
                               -----------------




                                          s/Jihan M. Williams
                                          Jihan Williams
                                          Assistant U.S. Attorney
                                          United States Attorney’s Office




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